                   IN THE SUPREME COURT OF PENNSYLVANIA



In the Matter of                            : No. 127 DB 2014 (No. 75 RST 2014)
                                            :
                                            :
EARL NEWELL                                 : Attorney Registration No. 55115                                            :
PETITION FOR REINSTATEMENT                  :
 FROM ADMINISTRATIVE SUSPENSION             : (Out of State)


                                        ORDER


PER CURIAM


       AND NOW, this 25th day of November, 2014, the Report and Recommendation

of Disciplinary Board Member dated November 12, 2014, is approved and it is

ORDERED that Earl Newell, who has been on Administrative Suspension, has never

been suspended or disbarred, and has demonstrated that he has the moral

qualifications, competency and learning in law required for admission to practice in the

Commonwealth, shall be and is, hereby reinstated to active status as a member of the

Bar of this Commonwealth. The expenses incurred by the Board in the investigation

and processing of this matter shall be paid by the Petitioner.
